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Wack A. byte , ) OUTHERN Dis rRICT
Petitioner/Appellant ) LAURA A ani
) Clee, C&S
VS. )
)
UNITED STATES OF AMERICA, )
Respondent/ Appellee )
DOCKETING STATEMENT

 

 

2, DY. $5*3S-cR- 03. ret. ee
Date Docketed: .

 

Case Name: wAg A Lite. vy. usA
Type of Case: { ] DistrictCourt [ ]U.S. Civil [ ] Private Civil
[X] Criminal [ ] Bankruptcy [ ] Original Proceeding
Is this case required by statute to be expedited? [ ] Yes [X] No
If yes, cite statutes Af A

Case Information:

 

Civil:
Criminal: =P 99°-38-<R -O3 ilk

 

Miscellaneous:

 

B. __ Review is sought of: [/] Final Order

{ ]Interlocutory Order Appealable As of Right

[ ] Interlocutory order Certified For Appeal

 
 

 

Name of Judge Who Entered Order Being Appealed:

—
Judge: Xander 0 y< {c eM nle se

Magistrate Judge: Ke lafecktr ? foste 4

Date of Order (s) Appealed (use date docketed):
Date Notice of Appeal Filed: 3, 4Y DAolZ

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If yes, give date filed: 3/ bf. o G
Are there any motions currently pending in trial court? [ ] Yes [No

If yes, Identify the motion and date filed: _

 

Has a transcript of the proceedings been ordered pursuant to FRAP 10(b)?

[]¥es [No

Ifno,whynot? ss A) of A¢ LES ALL

Has this case previously been before this Court under another appeal number?

[ Aes Appeal #_ O3-PF 25 [ ]No |

' Are any cases involving the same underlying order or, to counsel’s knowledge,
involving substantially the same issue currently pending before the district court,

this court, another circuit court, or the supreme court? [ ] Yes [xNo

If yes, give name of court, case name, and docket number for each case:

lh

 

Does this case turn on the validity or correct interpretation or application of a
particular statute? [ ] Yes me No

 

If yes, give popular name and citation of statute:

 

 
 

 

Signature: tek A, oleh Date: 5. AG. AB IZ ;

Name of Party: AW A chide U-SH.
Name of Counsel: (ep S¢. Fim: AV/A

Address: Ho Box 33 elle N Aube. ral YI Cher ?

Telephone Number: ( ) -

 

 

 

 

 

 

 

 

 OBRTTIGATR OF SERVIGR
I MARCA Life , do hereby certify, under the penalty of perjury, that
I sent a true and correct copy of the foregoing docketing statement to:
_ Respondent/Appellee: EreaAic A Loh Zz. AwU.5.A
Address; 10 test “14e ft SE Peek Surfe Aloe
| —-Zald Ma AAve]As,, aznl WCRY
via first class, postage paid envelope, on this OT day of LIAL 208
Signature: | PCT A Lik sot

 

 

Name of Party: 4“4¢AiC 4 uh ite

 

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